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                           THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,

        v.                                       CIVIL ACTION NO. 6:20-cv-1040-ADA

 DIALPAD, INC.,

                Defendant.




               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “RBDS”) files

this Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Dialpad, Inc., with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear

its own fees and costs.


Dated: July 2, 2021                           Respectfully submitted,

                                              /s/Jay Johnson
                                              JAY JOHNSON
                                              State Bar No. 24067322
                                              KIZZIA JOHNSON PLLC
                                              1910 Pacific Avenue, Suite 13000
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on July 2, 2021. Parties may
access the foregoing through the Court’s system.

                                                     /s/Jay Johnson
                                                     JAY JOHNSON




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